        Case 5:24-cv-06920-EKL          Document 31-12          Filed 12/06/24     Page 1 of 2



 1   Jennifer A. Golinveaux (SBN: 203056)
     JGolinveaux@winston.com
 2   Jeff Wilkerson (SBN: 284044)
     JWilkerson@winston.com
 3   Samantha K. Looker (SBN: 340564)
     SLooker@winston.com
 4   WINSTON & STRAWN LLP
     101 California Street, 35th Floor
 5   San Francisco, CA 94111-5840
     Telephone: (415) 591-1000
 6
     Attorneys for Plaintiff
 7   MUSI INC.
 8

 9                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
10
                                          SAN JOSE DIVISION
11

12   MUSI INC.,                                             Case No. 5:24-cv-06920-EKL

13                   Plaintiff,                             DECLARATION OF JENNIFER A.
                                                            GOLINVEAUX IN SUPPORT OF
14           v.                                             PLAINTIFF’S REPLY IN SUPPORT OF
                                                            MOTION FOR PRELIMINARY
15   APPLE INC.,                                            INJUNCTION

16                   Defendant.                             Date January 9, 2025
                                                            Time: 2:00 P.M.
17                                                          Judge: Hon. Eumi K. Lee
                                                            Place: San Jose Federal Courthouse,
18                                                          Courtroom 7 – 4th Floor

19

20           I, Jennifer A. Golinveaux, declare as follows:

21           1.      I am a partner at Winston & Strawn LLP, and counsel for Plaintiff Musi Inc. (“Plaintiff”

22   or “Musi”). I make this declaration based on my personal knowledge in support of Musi’s Reply in

23   Support of Motion for Preliminary Injunction, in the above-captioned matter. If called upon to do so,

24   I could and would testify competently to the facts set forth herein.

25           2.      Attached hereto as Exhibit 1 is a true and correct copy of a May 5, 2021, letter from

26   Winston & Strawn, on behalf of Musi, to YouTube via its outside counsel, Wilson Sonsini, which I

27   viewed on the day it was sent.

28
                                                        1
       DEC. OF JENNIFER A. GOLINVEAUX IN SUPPORT OF PLAINTIFF’S REPLY ISO MOTION FOR PRELIMINARY INJUNCTION
                                            Case No. 5:24-cv-06920-EKL
       Case 5:24-cv-06920-EKL           Document 31-12         Filed 12/06/24     Page 2 of 2



 1          3.      I am a partner at Winston & Strawn LLP, and counsel for Plaintiff Musi Inc. (“Plaintiff”
 2   or “Musi”). I make this declaration based on my personal knowledge in support of Musi’s Reply in
 3   Support of Motion for Preliminary Injunction, in the above-captioned matter. If called upon to do so,
 4   I could and would testify competently to the facts set forth herein.
 5          4.      Attached hereto as Exhibit 1 is a true and correct copy of a May 5, 2021, letter from
 6   Winston & Strawn, on behalf of Musi, to YouTube via its outside counsel, Wilson Sonsini, which I
 7   viewed on the day it was sent.
 8          5.      Attached hereto as Exhibit 2 is a true and correct copy of a September 11, 2023, email
 9   sent by Sony Music Entertainment to Apple App Store Disputes and Winston & Strawn regarding an
10   App Store complaint, which I viewed on the day it was received by Winston & Strawn. Winston &
11   Strawn received no further communications from Apple App Store Disputes or Sony Music
12   Entertainment in relation to this dispute.
13          6.      Attached hereto as Exhibit 3 is a true and correct copy of a September 11, 2023, letter
14   from the IFPI to Winston & Strawn, which I viewed on the day it was received by Winston & Strawn..
15   In response to this letter, Apple did not remove the Musi app, from the European market or otherwise.
16   Apple last followed up with the parties in relation to this dispute in May 2024.
17          7.      Attached hereto as Exhibit 4 is a true and correct copy of a screenshot taken at my
18   direction on December 5, 2024, of Apple’s App Store Content Dispute webpage, available at
19   https://www.apple.com/legal/intellectual-property/dispute-forms/app-store/.
20          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
21   correct and that I executed this declaration on December 6, 2024 in San Francisco, California.
22

23
                                                            /s/ Jennifer A. Golinveaux
24                                                          Jennifer A. Golinveaux
25

26

27

28

                                                        2
       DEC. OF JENNIFER A. GOLINVEAUX IN SUPPORT OF PLAINTIFF’S REPLY ISO MOTION FOR PRELIMINARY INJUNCTION
                                            Case No. 5:24-cv-06920-EKL
